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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF DELAWARE

DELAWARE DISPLAY GROUP LLC AND )
INNOVATIVE DISPLAY             )
TECHNOLOGIES LLC,              )
                               )
         Plaintiffs,           )
                               )
      v.                       ) Civil Action No. 13-2112-RGA
                               )
VIZIO, INC.,                   )
                               )
         Defendant.            )
                               )

   DEFENDANT VIZIO, INC.’S MOTION FOR SUMMARY JUDGMENT ON NON-
              ENABLEMENT AND WRITTEN DESCRIPTION

       Defendant VIZIO, Inc. (“VIZIO”) hereby moves pursuant to Federal Rule of Civil

Procedure 56(a) and 35 U.S.C. § 112, for summary judgment on non-enablement and written

description. The grounds for this motion are set forth in VIZIO’s Combined Opening Brief in

Support of its Motion for Summary Judgment on Non-Enablement and Written Description and

its Motion to Exclude Testimony of Dr. Frederic Kahn on Those Topics, and exhibits thereto,

filed contemporaneously.
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Dated: August 26, 2016




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                                 CERTIFICATE OF SERVICE

         I, Pilar G. Kraman, Esquire, hereby certify that on August 26, 2016, I caused to be

electronically filed a copy of the foregoing document with the Clerk of the Court using CM/ECF,

which will send notification that such filing is available for viewing and downloading to the

following counsel of record:

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         I further certify that on August 26, 2016, I caused a copy of the foregoing document to

be served by e-mail on the above-listed counsel and on the following:

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